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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CRIMINAL CASE NO.: 9:22-mj-08332-BER-1

 UNITED STATES OF AMERICA,

           Plaintiff,

 v.

 SEALED SEARCH WARRANT,

       Defendant.
 _________________________________/

  MOVANT JUDICIAL WATCH, INC.’S MOTION TO UNSEAL SEARCH WARRANT

           Movant Judicial Watch, Inc., by counsel, respectfully requests this Court unseal the search

 warrant materials in U.S. v. Sealed Search Warrant, Case No. 9:22-mj-08332 as expeditiously as

 possible. As grounds thereof, Judicial Watch states as follows:

           1.      On August 8, 2022, FBI agents executed a search warrant at President Donald J.

 Trump’s residence in Palm Beach, Florida. According to media reports, the warrant relates to an

 alleged dispute over the Presidential Records Act.

           2.      According to this Court’s docket, all entries, including the search warrant are

 sealed.

           3.      Judicial Watch is a not-for-profit, educational organization that seeks to promote

 transparency, accountability, and integrity in government and fidelity to the rule of law. An integral

 part of Judicial Watch’s mission is educating the public about the operations and activities of the

 government and government officials. To this end, Judicial Watch undertakes investigations of the

 federal government and federal officials by making extensive use of FOIA, among other




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 investigative tools. Judicial Watch subsequently analyzes all records it receives and disseminates

 its findings to the public.

         4.      Here, Judicial Watch is investigating the potential politicization of the Federal

 Bureau of Investigation and the U.S. Department of Justice and whether the FBI and the Justice

 Department are abusing their law enforcement powers to harass a likely future political opponent

 of President Biden. If the Court were to unseal the materials, Judicial Watch would obtain the

 materials, analyze them, and make them available to the public. Unsealing the records therefore

 would further Judicial Watch’s mission of educating the public.

         5.      Federal courts have long recognized a common-law right of access to judicial

 records. Patel v. United States, 2019 U.S. Dist. LEXIS 152670, *13 (S.D. Fla. Sept. 9, 2019).

 Such right extends to pre-indictment search-warrant materials. See Bennett v. United States, 2013

 U.S. Dist. LEXIS 102771, *20 (S.D. Fla. July 23, 2013) (Courts have recognized that the common-

 law right to inspect judicial records applies where the record at issue is a sealed search-warrant

 affidavit.”) (collecting cases).

         6.      “When deciding whether to grant a party’s motion to seal or conversely the granting

 of a party’s motion to unseal, the court is required to balance the historical presumption of access

 against any competing interest.” Id. at *21 (quoting In re Search of Office Suites for World and

 Islam Studies, 925 F. Supp. 738, 742 (M.D. Fla. 1996). Specifically, courts consider “whether the

 records are sought for improper purposes, whether access is likely to promote public understanding

 of historically significant events, and whether the press has already been permitted substantial

 access to the contents of the records.” In re Four Search Warrants, 945 F. Supp. 1563, 1568 (N.D.

 Ga. 1996) (quoting Newman v. Graddick, 696 F.2d 796, 803 (11th Cir. 1983)).




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        7.      All three considerations support Judicial Watch’s motion to unseal. First, Judicial

 Watch seeks access to the warrant materials as part of its educational mission. If the Court were to

 unseal the materials, Judicial Watch would obtain the materials, analyze them, and make them

 available to the public. Second, the public has an urgent and substantial interest in understanding

 the predicate for the execution of the unprecedented search warrant of the private residence of a

 former president and likely future political opponent. Third, no official explanation or information

 has been released about the search. As of the filing of this motion, the public record consists solely

 of speculation and inuendo. In short, the historical presumption of access to warrant materials

 vastly outweighs any interest the government may have in keeping the materials under seal.

        8.      Given the political context, and the highly unusual action of executing a search

 warrant at the residence of a former President and likely future political opponent, it is essential

 that the public understands as soon as possible the basis for the government’s action. Any

 government interest in securing the identities of witnesses and confidential sources, if any, may be

 addressed by appropriate redactions from the search warrant affidavit.

        For the foregoing reasons, Judicial Watch respectfully requests this Court unseal the search

 warrant materials in U.S. v. Sealed Search Warrant, Case No. 9:22-mj-08332 as expeditiously as

 possible.



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       Dated: August 9, 2022.       Respectfully Submitted,

                                    MELAND BUDWICK, P.A.
                                    3200 Southeast Financial Center
                                    200 South Biscayne Boulevard
                                    Miami, Florida 33131
                                    Telephone: (305) 358-6363
                                    Facsimile: (305) 358-1221

                                    /s/ Michael S. Budwick
                                    Michael S. Budwick, Esquire
                                    Florida Bar No. 938777
                                    mbudwick@melandbudwick.com
                                    Gil Ben-Ezra, Esquire
                                    Florida Bar No. 0118089
                                    gbenezra@melandrussin.com

                                    Paul J. Orfanedes, Esquire
                                    (Pro Hac Vice Application Forthcoming)
                                    Michael Bekesha, Esquire
                                    (Pro Hac Vice Application Forthcoming)
                                    JUDICIAL WATCH, INC.
                                    425 Third Street, S.W., Suite 800
                                    Washington, DC 20024

                                    Counsel for Movant Judicial Watch, Inc.




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